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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X

JANE DOE,
                                                                 STIPULATION OF
                                                    Plaintiff,   SETTLEMENT

                          -against-                               18 CV 7889 (JMF)

THE CITY OF NEW YORK, et. al.,

                                                 Defendants.

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               WHEREAS, plaintiff commenced this action by filing a complaint on or about

August 31, 2018, alleging that the defendants violated plaintiffs federal civil rights; and

               WHEREAS, defendants denied any and all liability arising out of plaintiffs

allegations; and

               WHEREAS, the parties now desire to resolve the issues raised in this litigation,

without further proceedings and without admitting any fault or liability; and
                                                                                              .•
               WHEREAS, plaintiff has authorized her counsel to settle this matter on the terms

set forth below;

               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned, as follows:

               1.     The above-referenced action is hereby dismissed against defendants, with

prejudice, and without costs, expenses, or attorneys' fees except as specified in paragraphs "2,"

"3" and "4" below.

               2.     Defendant City of New York hereby agrees to pay plaintiff Jane Doe the

sum of Five Hundred Thousand ($500,000.00) Dollars, in full satisfaction of all claims,

including claims for costs, expenses and attorneys' fees. In consideration for the payment of this
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sum, plaintiff agrees to the dismissal of all the claims against the defendants and to release

defendants City of New York, Jose Cosme and Leonard McNeil; their successors or assigns; and

all past and present officials, employees, representatives, and agents of the City of New York or

any entity represented by the Office of the Corporation Counsel, from any and all liability,

claims, or rights of action alleging a violation of plaintiffs civil rights and any and all related

state law claims, from the beginning of the world to the date of the General Release, including

claims for costs, expenses, and attorneys' fees.

               3. In consideration of the payment made by the City of New York set forth in

paragraph 2 above to resolve the claims of plaintiff Jane Doe, including plaintiffs claim for

attorneys' fees, costs, and expenses, defendant Jose Cosme hereby agrees to pay defendant the

City of New York the sum of One Thousand ($1,000) Dollars within 60 days of the entry of this

Stipulation of Settlement. The defendant Jose Cosme agrees to the dismissal of his cross-claims

against the City of New York with prejudice. In consideration for the payment made by the City

of New York in paragraph 2 above to resolve the claims of plaintiff Jane Doe, including

plaintiffs claim for attorneys' fees, costs, and expenses, Jose Cosme shall also execute and

deliver to the City of New York's attorney all documents necessary to effect this settlement,

including, without limitation, a General Release by which Jose Cosme releases and discharges

City of New York; its successors or assigns; all past and present officials of the City of New

York; or any entity represented by the Office of the Corporation Counsel, from any and all

claims that were or could have been alleged by Jose Cosme in, or arise out of, the above

captioned action including but not limited to any claim for indemnification and any claim for

attorneys' fees, costs, and expenses.




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               4. In consideration of the payment made by the City of New York set forth in

paragraph 2 above to resolve the claims of plaintiff Jane Doe, including plaintiffs claim for

attorneys' fees, costs, and expenses, defendant Leonard McNeil hereby agrees to pay defendant

the City of New York the sum of One Thousand ($1,000) Dollars within 60 days of the entry of

this Stipulation of Settlement. The defendant Leonard McNeil agrees to the dismissal of his

cross-claims against the City of New York with prejudice. In consideration for the payment

made by the City of New York in paragraph 2 above to resolve the claims of plaintiff Jane Doe,

including plaintiffs claim for attorneys' fees, costs, and expenses, Leonard McNeil shall also

execute and deliver to the City of New York' s attorney all documents necessary to effect this

settlement, including, without limitation, a General Release by which Leonard McNeil releases

and discharges City of New York; its successors or assigns; all past and present officials of the

City of New York; or any entity represented by the Office of the Corporation Counsel, from any

and all claims that were or could have been alleged by Leonard McNeil in, or arise out of, the

above captioned action including but not limited to any claim for indemnification and any claim

for attorneys' fees, costs, and expenses.

               5.      Plaintiff shall execute and deliver to the defendants' attorney all

documents necessary to effect this settlement, including, without limitation, a General Release

based on the terms of paragraph 2 above and an Affidavit of Status of Liens. Prior to tendering

the requisite documents to effect this settlement, Medicare-recipient plaintiffs must obtain and

submit a final demand letter from Medicare for the reimbursement of any conditional payments

made by Medicare for any injury or condition that is the subject of this lawsuit. A Medicare Set-

Aside Trust may also be required if future anticipated medical costs are found to be necessary

pursuant to 42 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411.22 through 411.26.




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               6.      Nothing contained herein shall be deemed to be an admission by the

defendants that they have in any manner or way violated plaintiffs rights, or the rights of any

other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of

the United States, the State of New York, or the City of New York or any other rules or

regulations of any department or subdivision of the City of New York. This stipulation shall not

be admissible in, nor is it related to, any other litigation or settlement negotiations, except to

enforce the terms of this agreement.

               7.      Nothing contained herein shall be deemed to constitute a policy or practice

of the City of New York or any agency thereof.

               8.      Plaintiff agrees to hold harmless the City of New York regarding any liens

or past and/or future Medicare payments, presently known or unknown, in connection with this

matter. If conditional and/or future anticipated Medicare payments have not been satisfied, the

City of New York reserves the right to issue a multiparty settlement check naming Medicare as a

payee or to issue a check to Medicare directly based upon Medicare's final demand letter.

               9.      This Stipulation of Settlement contains all the terms and conditions agreed

upon by the parties hereto, and no oral agreement entered into at any time nor any written

agreement entered into prior to the execution of this Stipulation of Settlement regarding the

subject matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or

to vary the terms and conditions contained herein.

Dated: New York, New York
       February 8, 2019




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